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                United States Court of Appeals
                                   For the Seventh Circuit
                                   Chicago, Illinois 60604

                                      December 11, 2023

                                                Before

                             FRANK H. EASTERBROOK, Circuit Judge

                             DIANE P. WOOD, Circuit Judge

                             MICHAEL B. BRENNAN, Circuit Judge




Nos. 23-1825, 23-1826, 23-1827 & 23-1828

JEREMY W. LANGLEY, et al.,                               Appeals from the United States District
                                                         Court for the Southern District of Illinois.
                         Plaintiffs-Appellees

                                                         No. 23-CV-00192
                    v.

BRENDAN KELLY, in his official                           Stephen P. McGlynn,
capacity as Director of the Illinois State               Judge.
Police,
                     Defendant-Appellant.



                                          ORDER

       Plaintiffs-Appellees filed a petition for rehearing and rehearing en banc on
November 8, 2023. No judge in regular active service has requested a vote on the
petition for rehearing en banc, and all members of the original panel have voted to deny
panel rehearing. The petition for rehearing and rehearing en banc is therefore DENIED.
